                                                            100
9:23-ap-09001-BPH Doc#: 35-18 Filed: 11/15/23 Page 1 of 8
9:23-ap-09001-BPH Doc#: 35-18 Filed: 11/15/23 Page 2 of 8
9:23-ap-09001-BPH Doc#: 35-18 Filed: 11/15/23 Page 3 of 8
9:23-ap-09001-BPH Doc#: 35-18 Filed: 11/15/23 Page 4 of 8
9:23-ap-09001-BPH Doc#: 35-18 Filed: 11/15/23 Page 5 of 8
9:23-ap-09001-BPH Doc#: 35-18 Filed: 11/15/23 Page 6 of 8
9:23-ap-09001-BPH Doc#: 35-18 Filed: 11/15/23 Page 7 of 8
9:23-ap-09001-BPH Doc#: 35-18 Filed: 11/15/23 Page 8 of 8
